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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


RONDA L. DAVIS, et al.,             :
                                    :
      Plaintiff,                    :
                                    : Civil Action No.:10-1564 (RC)
v.                                  :
                                    :
DISTRICT OF COLUMBIA,               :
                                    :
      Defendant.                    :
___________________________________ :

                                   NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs, Karone Gray, David Hailes, and Lorraine Kelly,

hereby appeal to the Court of Appeals for the United States for the District of Columbia from a

Judgment against Plaintiffs [Docket #203], granting Defendant’s District of Columbia’s Motion

for Summary Judgment in the immediate case.


DATE: March 25, 2024.


                                                   Respectfully submitted,

                                                   TEMPLE LAW OFFICES


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